         Case 18-32106 Document 8-1 Filed in TXSB on 04/26/18 Page 1 of 3



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                 §
                                                       §
ERIN ENERGY CORPORATION, et al.,1                      §                  Case No. 18-32106
                                                       §
         Debtors.                                      §                  (Chapter 11)
                                                       §
                                                       §         (Joint Administration Requested)

                ORDER PURSUANT TO SECTIONS 105(a) AND 362 OF THE
                 BANKRUPTCY CODE ENFORCING AND RESTATING
                         AUTOMATIC STAYPROVISIONS

         Upon consideration of the Debtors’ Emergency Motion For the Entry of an Order

Pursuant to Sections 105(a) and 362 of the Bankruptcy Code Enforcing and Restating Automatic

Stay Provisions (the “Motion”),2 filed by the above-captioned debtors and debtors in possession

(the “Debtors”), the Court finds that: (i) it has jurisdiction over the matters raised in the Motion

pursuant to 28 U.S.C. § 1334(b); (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b);

(iii) the relief requested in the Motion is in the best interests of the Debtors and their respective

estates, creditors, and other parties-in-interest; (iv) proper and adequate notice of the Motion and

hearing on the Motion has been given and that no other or further notice is necessary under the

circumstances; (v) the relief granted in this Order is necessary to avoid immediate and

irreparable harm to these estates; and (vi) good and sufficient cause exists for the granting of the

relief requested in the Motion after having given due deliberation upon the Motion and all of the

proceedings had before the Court in connection with the Motion. Therefore, it is hereby



1
  The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
2
  Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to such terms in the
Motion.
        Case 18-32106 Document 8-1 Filed in TXSB on 04/26/18 Page 2 of 3



       ORDERED that, subject to the exceptions to the automatic stay contained in section

362(b) of the Bankruptcy Code and the right of any party in interest to seek relief from the

automatic stay in accordance with section 362(d) of the Bankruptcy Code, all persons (including

individuals, partnerships, corporations, and other entities and all those acting on their behalf),

and all governmental units, whether of the United States, any state or locality therein or any

territory or possession thereof, or any foreign country (including any division, department,

agency, instrumentality or service thereof and all those acting on their behalf), are hereby stayed,

restrained and enjoined from:

       (a)     commencing or continuing (including the issuance or employment of
               process) any judicial, administrative, or other action or proceeding against
               the Debtors that was or could have been commenced before the
               commencement of the Debtors’ chapter 11 cases or recovering a claim
               against the Debtors that arose before the commencement of the Debtors’
               chapter 11 cases;

       (b)     enforcing, against the Debtors or against property of their estates, a
               judgment or order obtained before the commencement of the Debtors’
               chapter 11 cases;

       (c)     taking any action to obtain possession of property of the Debtors’ estates
               or to exercise control over property of the estates or interfere in any way
               with the conduct by the Debtors of their businesses, including, without
               limitation, attempts to interfere with deliveries or events or attempts to
               arrest, seize or reclaim any vessels, ships, equipment, supplies or other
               assets the Debtors use in their businesses;

       (d)     taking any action to create, perfect or enforce any lien against property of
               the Debtors’ estates;

       (e)     taking any action to create, perfect or enforce against property of the
               Debtors any lien to the extent that such lien secures a claim that arose
               prior to the commencement of the Debtors’ chapter 11 cases;

       (f)     taking any action to collect, assess or recover a claim against the Debtors
               that arose prior to the commencement of the Debtors’ chapter 11 cases;

       (g)     offsetting any debt owing to the Debtors that arose before the
               commencement of the Debtors’ chapter 11 cases against any claim against
               the Debtors; and

                                                 2
         Case 18-32106 Document 8-1 Filed in TXSB on 04/26/18 Page 3 of 3



        (h)     commencing or continuing any proceeding before the United States Tax
                Court concerning the Debtors, subject to the provisions of 11 U.S.C. §
                362(b);

and it is further

        ORDERED that, in accordance with the Bankruptcy Code, the Federal Rules of

Bankruptcy Procedure and applicable law, upon request of a party in interest, and after notice

and a hearing, this Court may grant relief from the restraints imposed herein in the event that it is

necessary, appropriate and warranted to terminate, annul, modify or condition the injunctive

relief herein; and it is further

        ORDERED that the Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.


Dated: April ___, 2018                               ______________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE




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